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                                   3244




                               EXHIBIT1
       Case 3:22-cv-00049-NKM-JCH Document 267-1 Filed 07/28/23 Page 2 of 15 Pageid#:
                                          3245
AO 88A (Rev. /) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                         Western District
                                                       __________ DistrictofofVirginia
                                                                               __________

                        BABY DOE, et al.                                       )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      3:22cv00049-NKM-JCH
                                                                               )
                     JOSHUA MAST, et al.                                       )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                           PIPE HITTER FOUNDATION, INC. 9502 Hale Place, Silver Springs, MD 20910
                                    c/o The Arland Affiliation R/A 72 Sara Circle, Santa Rosa, FL 32459
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u 7HVWLPRQ\<28$5(&200$1'('WRDSSHDUDWWKHWLPHGDWHDQGSODFHVHWIRUWKEHORZWRWHVWLI\DWD
GHSRVLWLRQWREHWDNHQLQWKLVFLYLODFWLRQ,I\RXDUHDQRUJDQL]DWLRQ\RXPXVWSURPSWO\FRQIHULQJRRGIDLWKZLWKWKH
SDUW\VHUYLQJWKLVVXESRHQDDERXWWKHIROORZLQJPDWWHUVRUWKRVHVHWIRUWKLQDQDWWDFKPHQWDQG\RXPXVWGHVLJQDWHRQH
RUPRUHRIILFHUVGLUHFWRUVRUPDQDJLQJDJHQWVRUGHVLJQDWHRWKHUSHUVRQVZKRFRQVHQWWRWHVWLI\RQ\RXUEHKDOIDERXW
WKHVHPDWWHUV SEE Attached Schedule B

 Place: HUNTON ANDREWS KURTH LLP                                                       Date and Time:
           2200 Pennsylvania Ave, NW Suite 900                                                           07/03/2023 9:00 am
           Washington, DC 20037-1701

          The deposition will be recorded by this method:

       ✔
       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: Please provide requested documents no later than 06/28/2023
                       SEE Attached Schedule A




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        06/14/2023
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ Maya M. Eckstein
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiffs
                                                                        , who issues or requests this subpoena, are:
Maya Eckstein 951 E. Byrd St. Richmond, VA 23219 (804) 788-8200 meckstein@huntonAK.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 3:22cv00049-NKM-JCH

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                             SCHEDULE A

                                             DEFINITIONS

           For all Requests, the following definitions apply:

           1.     The definitions and instructions set forth in Federal Rule of Civil Procedure 34

 are incorporated herein by reference.

           2.     “You” and “Your” means the Pipe Hitter Foundation, Inc. (“Pipe Hitter

 Foundation”), Including Each Person acting or purporting to act on the Pipe Hitter Foundation’s

 behalf.

           3.     The term “all” shall mean all or any, and the term “any” means all or any.

           4.     The term “Communication” shall mean any disclosure, transmission, or exchange

 of information from one Person to another, including, without limitation, by personal meeting,

 telephone, facsimile, voicemail, electronic transmission, including email, and teleconference.

           5.     The term “Control” shall mean possession or custody, and includes control to the

 extent that You, Your attorneys, agents, or Representatives have a right to demand or compel

 production of the Document or Communication from a source with possession thereof.

           6.     The term “Document” shall be construed in its broadest sense in light of Federal

 Rule of Civil Procedure 34 and includes without limitation any written, printed, typed, recorded,

 electronic, or graphic matter of every type and description, however and by whoever prepared,

 produced, reproduced, disseminated, or made in any form, regardless of their origin or location,

 including, without limitation correspondence, email, memoranda, notes (including notes of any

 sort of conversations), diaries, statistics, letters, telegrams, speeches, drafts, electronic files,

 spreadsheets, databases, records, minutes, contracts, reports, studies, checks, statements, receipts,

 returns, summaries, pamphlets, periodicals, notices, messages (including instant messages),
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 instructions, work assignments, books, calendars, interoffice and intra-office communications

 (including, without limitation, email communications), agreements, leases, microfilm, circulars,

 notebooks, PowerPoint (or other like program) files and/or presentations, bulletins, printed

 matter, computer printouts, teletypes, facsimiles, drawings, sketches, worksheets of any of the

 foregoing, graphic or oral records or representations of any kind (including, without limitation,

 photographs, videotapes, motion pictures), and electronic, mechanical or electric recordings or

 representations of any kind (including, without limitation, tapes, cassettes and magnetic cards,

 disks and other recordings), and any other writings or sound recordings. The term “Document”

 includes each copy, version, or reproduction that is not identical to the original or any other

 produced copy whether different from the original by reason of any notation made on such

 copies or otherwise, and all associated metadata.

        8.      The term “Electronically Stored Information” or “ESI” refers to, without

 limitation, all electronic data (including reasonably accessible active, archival, or backup data,

 such as backup tapes, distributed data, electronic mail, forensic copies, metadata, and residual

 data) stored in any medium from which information can be reasonably obtained.

        9.      The term “each” shall mean all, each, and every.

        10.     The term “including” means “including but not limited to.”

        11.     The terms “Person” and “Entity” shall mean any natural Person or Persons and

 any other cognizable entity, including without limitation, corporations, proprietorships, joint

 ventures, partnerships, units, businesses, consortiums, clubs, associations, foundations,

 governmental agencies or instrumentalities, societies, orders, any other form of business

 organization or arrangement, or any other form of public, private or legal entity.
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        12.     The phrases “refer or relate to,” “referring or relating to,” “concern or

 concerning” and “comprise,” shall incorporate all information, Facts, and/or Documents that

 directly, indirectly, or in any other way support, negate, bear upon, touch upon, incorporate,

 affect, include, pertain to, and/or are otherwise connected with the subject matter about which a

 Request is being propounded. The phrases shall also mean containing, recording, discussing,

 mentioning, noting, summarizing, referring to, commenting upon, describing, digesting,

 reporting, listing, analyzing or studying the subject matter identified in a Request.

        13.     The term “Relevant Time Period” is from September 6, 2019 through the present.

        14.     The term “Representative” shall mean any agent, consultant, expert, attorney,

 contractor, or other Person engaged by the designated Person or Entity to perform some task or

 assignment for the Entity.

        15.     The singular form of any noun or pronoun includes the plural, and vice versa.

        17.     Terms in the present, imperfect, or past tenses each include the other tenses.

                                         INSTRUCTIONS

        1.      Unless otherwise specified, the time period covered by these Requests is the

 Relevant Time Period, or such other time period as the parties may later agree or the Court

 determines should apply.

        2.      In answering and responding to these Requests, You shall furnish information and

 Documents in Your possession, custody, or Control, Including information that is in the

 possession, custody, or Control of Your employees, agents, investigators, consultants,

 representatives, attorneys (subject to any otherwise applicable privileges), assignors, or any other

 person within Your Control.

        3.      Your obligation to supplement and/or amend Your Responses to each of these
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 Requests is continuing in character, requiring You to file supplemental responses should

 circumstances change, or should You acquire new or different information at any time during the

 pendency of the case.

        4.      All Documents that respond, in whole or in part, to any part or clause of any

 paragraph of these Requests shall be produced in their entirety, Including attachments, cover

 letters, memoranda, appendices, and enclosures. Documents that in their original condition were

 stapled, clipped, or otherwise fastened together shall be produced in such form so as to preserve

 their family relationship.

        5.      Each page of each Document shall bear a unique sequential number (i.e., a Bates

 number) that includes a symbol or abbreviation that identifies the producing party.

        6.      Any copies that differ in any way from the original (because, by way of example,

 handwritten or printed notations have been added) should be produced separately. All

 Documents that cannot be copied legibly shall be produced in original form.

        7.      In producing ESI or data in machine-readable form in response to any Request,

 provide such information or data in a form that is reasonably usable, Including at a minimum (i)

 Bates-numbered TIFF images of the ESI, (ii) searchable text of the ESI in a format compatible

 with industry-standard litigation-support applications, and (iii) a compatible load file. Produce

 Excel files, PowerPoint files, databases, and media files in their native forms. For all ESI

 produced, include for each item the metadata that can be reasonably extracted from the ESI.

 Hardcopy paper documents that can be copied legibly should be produced in an ESI format, by

 scanning the documents, and should include for each such document extracted/OCR text data

 files using a scanning setting of at least 300 DPI. Unitization for any Documents You produce

 shall be maintained as it was in the original document.
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          8.     For each Document, Including ESI, produced in response to these Requests,

 identify (i) the custodian of the Document, if collected from You, or (ii) the source of the

 Document, if obtained from a third party in the course of Your investigation, Including the name

 and address of the third party.

          9.     For any Document withheld under a claim of privilege, work product immunity,

 or some other privilege or immunity, provide a written statement or privilege log with sufficient

 detail to enable the claim of privilege or immunity to be adjudicated, Including:

    x     The privilege, work product, or other basis for withholding the Document;

    x     All persons making or receiving the Document;

    x     The steps taken to ensure the confidentiality of the Document, Including

    x     affirmation that no unauthorized persons have received the Document;

    x     The date of the Document; and

    x     The subject matter of the Document and the Request to which the Document is

          responsive.

    10.          The words “any,” “and,” and “or” shall be construed either disjunctively or

 conjunctively as necessary to bring within the scope of the discovery all responses which might

 otherwise be construed to be outside its scope. Each of the following words includes the meaning

 of every other word: “each,” “every,” “all,” and “any.”


                                    DOCUMENT REQUESTS

 REQUEST NO. 1

          All Documents and Communications between YOU and any member of the Mast family,

 including, but not limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and

 Stephanie Mast, referring or relating to fundraising for any Defendants in Doe v. Mast, et al,
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 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00

 (Circuit Court of Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit

 Court of Fluvanna County), or their families.

 REQUEST NO. 2

        All Documents and Communications between YOU and any news or media outlets,

 including, but not limited to One America News Network, referring or relating to the facts

 underlying Doe v. Mast, et al, 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and

 S.M., Case No. CL22000186-00 (Circuit Court of Fluvanna County), or In the Matter of Baby

 Lilly, Case No. 19CA12 (Circuit Court of Fluvanna County).

 REQUEST NO. 3

        All Documents and Communications between YOU and any member of the Mast family,

 including, but not limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and

 Stephanie Mast, or any news or media outlets, including, but not limited to One America News

 Network, referring or relating to efforts by Joshua and Stephanie Mast to adopt a child from

 Afghanistan.

 REQUEST NO. 4

        All Documents and Communications referring or relating to YOUR receipt of

 information and photographs identifying Baby Doe in whole or in part.

 REQUEST NO. 5

        All Documents and Communications regarding the story titled “PHF Story The Mast

 Family”, available at https://pipehitterfoundation.org/who-we-support/the-mast-family/.
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                                             SCHEDULE B

                                             DEFINITIONS

           For all Topics, the following definitions apply:

           1.     The definitions and instructions set forth in Federal Rule of Civil Procedure 34

 are incorporated herein by reference.

           2.     “You” and “Your” means the Pipe Hitter Foundation, Inc. (“Pipe Hitter

 Foundation”), Including Each Person acting or purporting to act on the Pipe Hitter Foundation’s

 behalf.

           3.     The term “all” shall mean all or any, and the term “any” means all or any.

           4.     The term “Communication” shall mean any disclosure, transmission, or exchange

 of information from one Person to another, including, without limitation, by personal meeting,

 telephone, facsimile, voicemail, electronic transmission, including email, and teleconference.

           5.     The term “Control” shall mean possession or custody, and includes control to the

 extent that You, Your attorneys, agents, or Representatives have a right to demand or compel

 production of the Document or Communication from a source with possession thereof.

           6.     The term “Document” shall be construed in its broadest sense in light of Federal

 Rule of Civil Procedure 34 and includes without limitation any written, printed, typed, recorded,

 electronic, or graphic matter of every type and description, however and by whoever prepared,

 produced, reproduced, disseminated, or made in any form, regardless of their origin or location,

 including, without limitation correspondence, email, memoranda, notes (including notes of any

 sort of conversations), diaries, statistics, letters, telegrams, speeches, drafts, electronic files,

 spreadsheets, databases, records, minutes, contracts, reports, studies, checks, statements, receipts,

 returns, summaries, pamphlets, periodicals, notices, messages (including instant messages),




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 instructions, work assignments, books, calendars, interoffice and intra-office communications

 (including, without limitation, email communications), agreements, leases, microfilm, circulars,

 notebooks, PowerPoint (or other like program) files and/or presentations, bulletins, printed

 matter, computer printouts, teletypes, facsimiles, drawings, sketches, worksheets of any of the

 foregoing, graphic or oral records or representations of any kind (including, without limitation,

 photographs, videotapes, motion pictures), and electronic, mechanical or electric recordings or

 representations of any kind (including, without limitation, tapes, cassettes and magnetic cards,

 disks and other recordings), and any other writings or sound recordings. The term “Document”

 includes each copy, version, or reproduction that is not identical to the original or any other

 produced copy whether different from the original by reason of any notation made on such

 copies or otherwise, and all associated metadata.

        8.      The term “Electronically Stored Information” or “ESI” refers to, without

 limitation, all electronic data (including reasonably accessible active, archival, or backup data,

 such as backup tapes, distributed data, electronic mail, forensic copies, metadata, and residual

 data) stored in any medium from which information can be reasonably obtained.

        9.      The term “each” shall mean all, each, and every.

        10.     The term “including” means “including but not limited to.”

        11.     The terms “Person” and “Entity” shall mean any natural Person or Persons and

 any other cognizable entity, including without limitation, corporations, proprietorships, joint

 ventures, partnerships, units, businesses, consortiums, clubs, associations, foundations,

 governmental agencies or instrumentalities, societies, orders, any other form of business

 organization or arrangement, or any other form of public, private or legal entity.




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         12.     The phrases “refer or relate to,” “referring or relating to,” “concern or

 concerning” and “comprise,” shall incorporate all information, Facts, and/or Documents that

 directly, indirectly, or in any other way support, negate, bear upon, touch upon, incorporate,

 affect, include, pertain to, and/or are otherwise connected with the subject matter about which a

 Request is being propounded. The phrases shall also mean containing, recording, discussing,

 mentioning, noting, summarizing, referring to, commenting upon, describing, digesting,

 reporting, listing, analyzing or studying the subject matter identified in a Request.

         13.     The term “Relevant Time Period” is from September 6, 2019 through the present.

         14.     The term “Representative” shall mean any agent, consultant, expert, attorney,

 contractor, or other Person engaged by the designated Person or Entity to perform some task or

 assignment for the Entity.

         15.     The singular form of any noun or pronoun includes the plural, and vice versa.

         17.     Terms in the present, imperfect, or past tenses each include the other tenses.

                                      DEPOSITION TOPICS

 TOPIC NO. 1

         Communications between YOU and any member of the Mast family, including, but not

 limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and Stephanie Mast, referring

 or relating to fundraising for any Defendants in Doe v. Mast, et al, 3:22-cv-49-NKM-JCH (W.D.

 VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00 (Circuit Court of Fluvanna

 County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit Court of Fluvanna County),

 or their families.




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 TOPIC NO. 2

            Communications between YOU and any news or media outlets, including, but not limited

 to One America News Network, referring or relating to the facts underlying Doe v. Mast, et al,

 3:22-cv-49-NKM-JCH (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00

 (Circuit Court of Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit

 Court of Fluvanna County).

 TOPIC NO. 3

            Communications between YOU and any member of the Mast family, including, but not

 limited to Jonathan Mast, Joshua Mast, Richard Mast, Caleb Mast, and Stephanie Mast, or any

 news or media outlets, including, but not limited to One America News Network, referring or

 relating to efforts by Joshua and Stephanie Mast to adopt a child from Afghanistan.

 TOPIC NO. 4

            Your fundraising efforts for any Defendants in Doe v. Mast, et al, 3:22-cv-49-NKM-JCH

 (W.D. VA), A.A. and F.A. v. J.M. and S.M., Case No. CL22000186-00 (Circuit Court of

 Fluvanna County), or In the Matter of Baby Lilly, Case No. 19CA12 (Circuit Court of Fluvanna

 County), or their families.

 TOPIC NO. 5

            YOUR drafting and publication of the story titled “PHF Story The Mast Family”,

 available at https://pipehitterfoundation.org/who-we-support/the-mast-family/, including, but not

 limited to the source of any photographs used or information identifying Baby Doe in whole or

 in part.




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 TOPIC NO. 6

 YOUR receipt of information and photographs identifying Baby Doe in whole or in part.

 TOPIC NO. 7

 Communications regarding the story titled “PHF Story The Mast Family”, available at

 https://pipehitterfoundation.org/who-we-support/the-mast-family/.




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